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 12
                      IN THE UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14

 15    David Burnett and Michael Paradise, et al.,       Case No. 2:21-cv-9681-GW-JEM
 16                               Plaintiffs,
                                                         CLASS ACTION
 17          v.
       Prudent Fiduciary Services LLC, et al.,           NOTICE OF VOLUNTARY
 18
                                                         DISMISSAL WITHOUT
                                  Defendants.
 19                                                      PREJUDICE
 20
                                                         Hon. George H. Wu
 21
                                                         Complaint Filed: December 14,
 22
                                                         2021
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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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  1         NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. Pro. 41(a),
  2   Plaintiffs David Burnett and Michael Paradise voluntarily dismiss the above-
  3   captioned action without prejudice.
  4

  5   Dated: February 25, 2022              NICHOLS KASTER, PLLP
  6
                                            /s/ Paul J. Lukas
  7
                                            Paul J. Lukas
  8                                         NICHOLS KASTER, PLLP
  9                                         ATTORNEYS FOR INDIVIDUAL AND
                                            REPRESENTATIVE PLAINTIFFS
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              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
